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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )            CASE NO. 8:09CR411
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )               MEMORANDUM
                                              )                AND ORDER
ARNEL KNIGHT,                                 )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s pro se motion to reduce his

sentence as a result of the Fair Sentencing Act of 2010 (Filing No. 95) and the motion to

withdraw filed by Assistant Federal Public Defender Jeffrey Thomas (Filing No. 98).

       The Defendant pleaded guilty to Count I of the Indictment, which charged him with

conspiracy to distribute and possess with intent to distribute at least 5 grams of a mixture

or substance containing crack cocaine, resulting in a statutory minimum sentence of 5

years. On May 24, 2010, the Defendant was sentenced to the mandatory minimum

sentence of 60 months imprisonment. The Eighth Circuit Court of Appeals has determined

“that the Fair Sentencing Act of 2010, moderating mandatory minimum cocaine base

sentences, is not retroactive.” United States v. McKoy, 665 F.3d 968, 970 (2011). But see

United States v. Hill, 417 F. App'x 560 (7th Cir.), cert. granted, 132 S. Ct. 759 (2011).

Therefore, at this time the Defendant is not entitled to a further reduction. Because there

are no other nonfrivolous issues that may be addressed with respect to the Defendant's

sentence, defense counsel's motion to withdraw will be granted.

       IT IS ORDERED:

       1.     The Defendant’s motion to reduce his sentence (Filing No. 95) is denied; and
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   2.    The motion to withdraw filed by Assistant Federal Public Defender Jeffrey

         Thomas (Filing No. 98) is granted.

   DATED this 7th day of March, 2012.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            Chief United States District Judge




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